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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION


    GONZALO CRIVELLO,

           Plaintiff,


           vs.

    RANSOM-EVERGLADES SCHOOL, INC,
    is a Florida Corporation,

          Defendant.
    _______________________________________/

                                          COMPLAINT

           Plaintiff, GONZALO CRIVELLO (hereinafter “CRIVELLO” or “Plaintiff”), by

    and through the undersigned counsel, hereby sues RANSOM-EVERGLADES SCHOOL,

    INC. (hereinafter “RANSOM”), and states as follows:

                                JURISDICTION AND VENUE

             1.    This action is brought to remedy violations of law that occurred in

    violation of 42 U.S.C. § 1981. This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331.

    This Court has jurisdiction to grant declaratory and further relief pursuant to 28 U.S.C. §§

    2201 and 2202.

           2.      RANSOM is a corporation engaged in the staffing business conducting

    business in Miami-Dade, Florida and is within the jurisdiction of this Court.
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                                              PARTIES

              3.      CRIVELLO is a resident of Doral, Florida.

              4.      RANSOM is located in Miami-Dade County, Florida.

              5.      CRIVELLO was, at all times material to this Complaint, employed by

    RANSOM in Miami-Dade, Florida.

              6.      CRIVELLO has retained the undersigned attorneys to address the

    violations contained in this Complaint.

              7.      All conditions precedent to filing suit have been met or have been waived.

                                    FACTUAL ALLEGATIONS

                8.    RANSOM is a school that educates children from grades six through

    twelve.

                9.    CRIVELLO, who was born in Argentina, and is Hispanic, worked as a

    sailing coach and PE teacher.

                10.   CRIVELLO started working in 2012 for Defendant and held the positions

    of head sailing coach, physical education teacher, and waterfront director.

                11.   CRIVELLO was among RANSOM’s top coaches during the time of his

    employment at RANSOM.

               12.    In or about July 2014 RANSOM hired a new head of school, Stephanie

    “Penny” G. Townsend. Townsend was the former head of the Pennington School,

    Princeton, New Jersey, which is one of the oldest boarding schools in the nation.

    Townsend set out to change the culture of RANSOM, which was already one of the most

    successful schools in the nation in terms of academics and college placements. Even

    though RANSOM has always been a nationally recognized school that did not house its



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    students, Townsend envisioned a school whose culture was closer to a boarding-school

    style of education more prevalent in some of the nation’s oldest schools located in the

    Northeast.

            13.    Some Hispanic instructors did not fit within the vision of a boarding-

    school type of education. At some point, Townsend began to terminate numerous

    instructors and/or coaches. A pattern emerged in which it became apparent that

    Townsend was firing or forcing out a disproportionate number of Hispanic teachers and

    coaches, some of whom had always excelled in the jobs and were popular among

    students and parents. These teachers and coaches were replaced with non-Hispanic

    individuals.

            14.    The Hispanic coaches who were terminated include Mauricio Diaz,

    Francisco Viacava, Lorenzo Diaz and Geronimo Fernandez.

            15.    Townsend made comments that were derogatory of Hispanics in reference

    to Hispanic faculty members. Townsend complained that Hispanics are “too loud,” “talk

    too much,” and gossip too much or words to that effect.

            16.    In or about January 2015, RANSOM took away many of CRIVELLO’s

    responsibilities pertaining to the management of the waterfront and gave them to the

    person who was to be his successor, a non-Hispanic person who did not have anywhere

    near the same experience as CRIVELLO with regard to boating, sailing, or marine

    activities.

            17.    Soon after taking over CRIVELLO’s responsibilities as waterfront

    director, CRIVELLO’s replacement ran over an obstruction in the water causing severe

    damage to the boat he and students were riding in at the time.       That same week,



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    CRIVELO’s replacement ran out of gas while boating with students. He was never

    disciplined for such incidents.

           18.     CRIVELLO first learned in May 2016 that RANSOM would not renew

    his employment contract.

           19.     RANSOM terminated CRIVELLO because of his national origin and

    ancestry (Hispanic/Argentinean).


                                           COUNT I

                                 VIOLATION OF 42 U.S.C. § 1981

           20.     RANSOM terminated CRIVELLO because of his ancestry and those

    ethnic characteristics associated with those born in Argentina and/or who are Hispanic in

    violation of 42 U.S.C. § 1981.

           21.     RANSOM terminated CRIVELLO because has born in Argentina and is

    Hispanic in violation of 42 U.S.C. § 1981.

           22.     The actions of RANSOM were intentional or were with reckless disregard

    of CRIVELLO’s civil rights.

           23.     The actions of RANSOM as alleged herein were taken with malice and

    with a reckless disregard of CRIVELLO’ civil rights.

           WHEREFORE, Plaintiff CRIVELLO asks this Court to grant the following relief:

                   a.      Issue a declaratory judgment finding that Defendant’s conduct

    toward CRIVELLO violated 42 U.S.C. § 1981;

                   b.      Enjoin and restrain Defendant and all other persons acting on

    behalf of, or in concert with them, from engaging in such unlawful practices;

                   c.      Enter judgment in favor of Plaintiff CRIVELLO and against


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    RANSOM for backpay, reinstatement or front pay in lieu of reinstatement in the amount

    of wages and fringe benefits it is determined that Plaintiff CRIVELLO has lost as a result

    of RANSOM’s unlawful conduct, together with prejudgment interest from the date of the

    violations;

                   d.      Enter judgment in favor of Plaintiff CRIVELLO and against

    RANSOM for compensatory and punitive damages pursuant to federal statutes, including

    42 U.S.C. § 1981a, together with pre-judgment interest;

                   e.      Award Plaintiff CRIVELLO a reasonable attorney’s fee, pursuant

    to 42 U.C.S. § 1988, with the costs of this action; and

                   f.      Award such other and further legal and equitable relief as may be

    appropriate to redress fully the deprivation of Plaintiff CRIVELLO’s rights, to prevent

    reoccurrence of similar acts in the future and to protect RANSOM’s other employees

    from such unlawful behavior.

                                        JURY DEMAND

           CRIVELLO demands trial by jury on all issues so triable.



                                          Respectfully submitted,

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                                          /s Gary A. Costales
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